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                                         United States District Court
                                     STATE AND DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA                                                 GOVERNMENT=S EXHIBIT LIST
          v.
BRENDON MICHAEL DAUGHERTY                                                Criminal No. 22-229 (ECT/DJF)
PRESIDING JUDGE                                   PLAINTIFF'S ATTORNEY               DEFENDANT'S ATTORNEY


The Honorable David T. Schultz                    Kimberly A. Svendsen,              Robert Richman, Esq.
                                                  AUSA
HEARING DATE                                      COURT REPORTER                     COURTROOM DEPUTY

September 20, 2022                                                                   Terianne Bender
 PLF.   DEF.       DATE
                                       ADMITTED
 NO.    NO.       OFFERED   MARKED
                                                                         DESCRIPTION OF EXHIBITS


1                                                 Recording of first June 11, 2022 voicemail left for Victim A

2                                                 Recording of second June 11, 2022 voicemail left for Victim A

3                                                 Maple Grove Police Department reports dated April 27 and 28,
                                                  2018, related to Pearle Vision

4                                                 FBI report dated October 2, 2018, related to eBay

5                                                 Coon Rapids Police Department reports dated June 19, 2021
                                                  through June 15, 2022, related to Brendon Daugherty

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